      Case 3:03-cr-00127-LC-MD    Document 420   Filed 09/06/06   Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                        3:03cr127/LAC
                                           3:06cv220/LAC/MD
ROBERT PETTWAY
_____________________________________________________________________
                                     ORDER
       Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on August 7, 2006, pursuant to 28 U.S.C. § 636(b)(1)(B), the
Recommendation is adopted as the opinion of the Court.
       Accordingly, it is ORDERED:
       1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
       2.    The motion to vacate, set aside or correct sentence (doc. 410) is
DENIED.


       DONE AND ORDERED this 6th day of September, 2006.




                                      s /L.A. Collier
                                      LACEY A. COLLIER
                                      SENIOR UNITED STATES DISTRICT JUDGE
